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                                                                                       United States District Court
                                                                                         Southern District of Texas

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                                                                                        September 06, 2019
                                                                                         David J. Bradley, Clerk
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                      Ashley Hummel




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